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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiff,                                 4:13CR3086
      vs.
                                                                 ORDER
TRENT L. KINGSLEY,
                    Defendant.


      The court has been presented a Financial Affidavit (CJA Form 23) signed by the
above-named defendant in support of a request for appointed counsel. After a review of
the Financial Affidavit, the court finds the above-named defendant is currently eligible
for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and
Amended Criminal Justice Act Plan for the District of Nebraska. Accordingly,

      IT IS ORDERED:

      1)     The Federal Public Defender for the District of Nebraska is appointed to
             represent the above named defendant in this matter. In the event that the
             Federal Public Defender accepts this appointment, the Federal Public
             Defender shall forthwith file an appearance in this matter. In the event the
             Federal Public Defender should decline this appointment for reason of
             conflict or on the basis of the Criminal Justice Act Plan, the Federal Public
             Defender shall forthwith provide the court with a draft appointment order
             (CJA Form 20) bearing the name and other identifying information of the
             CJA Panel attorney identified in accordance with the Criminal Justice Act
             Plan for this district.

      2)     The Clerk shall provide a copy of this order to the Federal Public Defender
             for the District of Nebraska.

      June 27, 2013.

                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
